4:05-cr-03027-RGK-RGK             Doc # 72   Filed: 06/27/06     Page 1 of 2 - Page ID # 208




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )           Case No. 4:05CR3027-2
                     Plaintiff,                )
                                               )
       vs.                                     )           TENTATIVE
                                               )           FINDINGS
JIMMY D. AMOS,                                 )
                                               )
                     Defendant.                )

       I am in receipt of the revised presentence investigation report and addendum in this
case. Except for defendant’s unresolved objection, there are no objections or motions for
departure or variance.

       IT IS ORDERED that:

        (1)    The undersigned will consult and follow the Guidelines to the extent permitted
and required by United States v. Booker, 125 S. Ct. 738 (2005). In this regard, the
undersigned gives notice that, unless otherwise ordered, he will (a) give the advisory
Guidelines substantial weight; (b) resolve all factual disputes relevant to sentencing by the
greater weight of the evidence and without the aid of a jury; (c) impose upon the government
the burden of proof on all Guideline-enhancements; (d) impose upon the defendant the
burden of proof on all Guideline-mitigators; (e) depart from the advisory Guidelines, if
appropriate, using pre-Booker departure theory; and (f) in cases where a departure using pre-
Booker departure theory is not warranted, deviate or vary from the Guidelines only when
there is a plainly superior, principled reason which justifies a sentence different than that
called for by application of the advisory Guidelines.

       (2)   The defendant’s objection to drug quantity and a gun enhancement as set forth
in the addendum will be resolved at a 90 minute evidentiary hearing, with sentencing to
follow. The evidentiary hearing and sentencing are rescheduled to Monday, July 10, 2006,
from 12:00 to 1:30 p.m.

       (3)    Except to the extent (if at all) that I have reserved an issue for later resolution
4:05-cr-03027-RGK-RGK           Doc # 72     Filed: 06/27/06     Page 2 of 2 - Page ID # 209



in the preceding paragraph, the parties are herewith notified that my tentative findings are
that the presentence report is correct in all respects.

        (4)     If any party wishes to challenge these tentative findings, said party shall, as
soon as possible, but in any event at least five (5) business days before sentencing, file in the
court file and serve upon opposing counsel and the court a motion challenging these tentative
findings, supported by (a) such evidentiary materials as are required (giving due regard to
the requirements of the local rules of practice respecting the submission of evidentiary
materials), (b) a brief as to the law and (c) if an evidentiary hearing is requested, a statement
describing why an evidentiary hearing is necessary and how long such a hearing would take.

       (5)   Absent submission of the information required by the preceding paragraph of
this order, my tentative findings may become final and the presentence report may be
adopted and relied upon by me without more.

       (6)    Unless otherwise ordered, any motion challenging these tentative findings shall
be resolved at sentencing.

       June 27, 2006.                          BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge




                                              -2-
